Case 2:11-cr-20551-RHC-MKM ECF No. 796, PageID.3264 Filed 07/14/14 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA

                      Plaintiff,
 ‐v‐                                               Case No. 11‐CR‐20551
                                                   HON. ROBERT H. CLELAND

 DR. ADELFO PAMATMAT, M.D. (D‐18),

                      Defendant.

 Patrick M. Cleary, PC                             The Landau Group, PC
 Patrick M. Cleary                                 Kevin A. Landau (P65601)
 43494 Woodward Ave., Ste. 203                     Arthur H. Landau (P16381)
 Bloomfield Hills, Michigan 48302                  38500 Woodward Ave., Ste. 310
 O: 248.335.7890                                   Bloomfield Hills, Michigan 48304
 Bar No. P11962                                    O: 248.686.5916
 Email: pmclearlyatlaw@aol.com                     Email: zachlandau3@gmail.com


                     ORDER GRANTING SUBSTITUTION OF COUNSEL

        Whereas this matter has come before this Court pursuant to the stipulation of the

 present counsel for Defendant Adelfo Pamatmat (Defendant No. 18), interpreted by the

 court as a motion to permit substitution, and

        Whereas proposed substitute counsel having certified their familiarity with the case

 and the proposed Rule 11 agreement, and the court now relying upon the certification to

 conclude that proposed substitute counsel are fully familiar with the case and fully

 prepared to proceed without delay.

        IT IS HEREBY ORDERED that Kevin Landau and Arthur Landau of The Landau

 Group, PC are permitted to substitute as counsel for Defendant in place of Patrick M. Cleary

 and Patrick M. Cleary, PC.
Case 2:11-cr-20551-RHC-MKM ECF No. 796, PageID.3265 Filed 07/14/14 Page 2 of 2




          IT IS FURTHER ORDERED that Patrick M. Cleary shall be relieved from any further

 responsibility in the above‐entitled matter.

          IT IS FURTHER ORDERED that there shall be NO EXTENSION OF TIME to be

 afforded as a result of this substitution.

          IT IS FURTHER ORDERED that Defendant and substitute counsel take note that the

 court reasonably assumes that whatever compensation has been proffered is and shall be

 sufficient for all purposes unto the conclusion of the case by guilty plea and sentence; or

 trial conviction, sentence, and appeal; or trial and acquittal. And, accordingly, take note that

 the court will entertain no subsequent motion by substitute counsel to withdraw, or to

 convert from retained to court‐appointed status, or to make other significant adjustments

 in their status in this case based in whole or in part on alleged financial deficiencies.




                                                         s/Robert H. Cleland
                                                        ROBERT H. CLELAND
                                                        UNITED STATES DISTRICT JUDGE

 Dated: July 14, 2014

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, July 14, 2014, by electronic and/or ordinary mail.


                                                         s/Lisa Wagner
                                                        Case Manager and Deputy Clerk
                                                        (313) 234-5522




 S:\Cleland\JUDGE'S DESK\Lisa's Folder\11-20551 Substitution of Counsel-Adelfo Pamatmat_RHC_1.docx
                                                            2
